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        SEALED
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 5                                UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                   Case No. 2:13-cr-00018-JCM-GWF
                                               )
10   vs.                                       )                   SEALED ORDER
                                               )
11   DAVID BALL,                               )                   Ex Parte Motion to Disclose the
                                               )                   Financial Affidavit - #245
12                     Defendant.              )
     __________________________________________)
13
14          This matter is before the Court on the Government’s Ex Parte Motion to Disclose the
15   Financial Affidavit of Defendant David Ball (#245), filed on February 5, 2014. Having reviewed
16   the Government’s Ex Parte Motion, the Court will deny it without prejudice for the following
17   reasons: First, while the motion sets forth the factual basis for the Government’s request, it is not
18   accompanied by any statement of legal authority or legal basis for the Government’s motion.
19   Second, the factual assertions in the motion are based on statements allegedly made to the
20   Government’s investigator by the Defendant’s wife. Such statements, on their face, appear to be
21   subject to marital privilege under Nevada Revised Statute (NRS) 49.295.1(b) and may not be used
22   against the Defendant without his consent. Finally, the Government has not demonstrated that
23   Defendant Ball is unaware of his wife’s communications with the Government’s investigator, such
24   that ex parte consideration of this motion, without affording Defendant an opportunity to respond,
25   is justified. Moreover, given Defendant’s potential privilege, consideration of this motion on an ex
26   parte basis appears questionable. Accordingly,
27   ...
28   ...
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 1          IT IS HEREBY ORDERED that on the Government’s Ex Parte Motion to Disclose the
 2   Financial Affidavit of Defendant David Ball (#245) is denied, without prejudice.
 3          DATED this 7th day of February, 2014.
 4
 5                                               ______________________________________
                                                 GEORGE FOLEY, JR.
 6                                               United States Magistrate Judge
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